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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

UNITED STATES OF AMERICA, et al.,                §
                                                 §
     Plaintiffs,                                 §
                                                 §
v.                                               §         2:21-CV-022-Z
                                                 §
PLANNED PARENTHOOD FEDERATION                    §
OF AMERICA, et al.,                              §
                                                 §
     Defendants.                                 §

                                            ORDER

         Before the Court is Non-Party Louisiana Department of Health et al.’s Second Motion for

Protective Order and to Quash Deposition Subpoenas, For Leave to File Less than Five Days

Before Deposition, and For Expedited Consideration (ECF No. 318), filed on December 2, 2022.

The Court GRANTS the Motion for Leave to File and the Motion for Expedited Consideration.

The Court ORDERS Defendants to respond to the Motion for Protective Order and to Quash on

or before Saturday, December 3, 2022. Movants are ORDERED to file any reply on or before

Monday, December 5, 2022, which may be consolidated with any reply in support of their First

Motion for Protective Order.

         SO ORDERED.

         December 2, 2022.

                                                     ________________________________
                                                     MATTHEW J. KACSMARYK
                                                     UNITED STATES DISTRICT JUDGE
